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                        IN THE UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF ARKANSAS
                                  WESTERN DIVISION

DAVID A. STEBBINS,                                                                      PLAINTIFF

v.                                     4:15CV00436-JLH-JJV

JIMM HANNAH; et al.                                                                 DEFENDANTS

                    PROPOSED FINDINGS AND RECOMMENDATIONS

                                            INSTRUCTIONS

       The following recommended disposition has been sent to United States District Judge J. Leon

Holmes. Any party may serve and file written objections to this recommendation. Objections should

be specific and should include the factual or legal basis for the objection. If the objection is to a

factual finding, specifically identify that finding and the evidence that supports your objection. An

original and one copy of your objections must be received in the office of the United States District

Court Clerk no later than fourteen (14) days from the date of the findings and recommendations. The

copy will be furnished to the opposing party. Failure to file timely objections may result in waiver

of the right to appeal questions of fact.

       If you are objecting to the recommendation and also desire to submit new, different, or

additional evidence, and to have a hearing for this purpose before the District Judge, you must, at

the same time that you file your written objections, include the following:

       1.      Why the record made before the Magistrate Judge is inadequate.

       2.      Why the evidence proffered at the hearing (if such a hearing is granted) was not

offered at the hearing before the Magistrate Judge.

       3.      The details of any testimony desired to be introduced at the new hearing in the form

of an offer of proof, and a copy, or the original, of any documentary or other non-testimonial


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evidence desired to be introduced at the new hearing.

       From this submission, the District Judge will determine the necessity for an additional

evidentiary hearing. Mail your objections and “Statement of Necessity” to:

                                 Clerk, United States District Court
                                    Eastern District of Arkansas
                               600 West Capitol Avenue, Suite A149
                                    Little Rock, AR 72201-3325

                                           DISPOSITION

I.     INTRODUCTION

       Plaintiff David A. Stebbins says, among other things, Defendants violated his rights under

the Americans with Disabilities Act (“ADA”) and violated his constitutional rights by subjecting him

to malicious prosecution and defamation, and tampering with evidence. (Doc. No. 18 at 1-3.)

Plaintiff has been granted in forma pauperis status (Doc. No. 24) and his Amended Complaint has

been referred to me for screening.1 (Doc. No. 23.)

II.    PROCEDURAL HISTORY

       Plaintiff filed this action on July 15, 2015. (Doc. No. 2.) His initial Complaint consisted of

two lengthy, separate documents (Doc. Nos. 2, 3) which, he contended, were to be read jointly. On

August 5, 2015, I entered an Order directing Plaintiff to file a single Amended Complaint which



       1
         While Plaintiff is not a prisoner, his complaint is still subject to screening under 28 U.S.C.
§ 1915(e)(2)(B). See Bey v. Superior Protection, Inc., No. 4:08CV004191 JLH, 2009 U.S. Dist.
LEXIS 33785, 2009 WL 1058054 (E.D. Ark. Apr. 20, 2009) (“Although many of the provisions in
§ 1915 specifically refer to and apply only to prison inmates, the language in § 1915(e)(2) does not
distinguish between prisoner and non-prisoner complaints. Under this provision, the court must
dismiss a complaint at any time it determines the claims raised are legally frivolous or malicious, fail
to state a claim for relief or seek monetary relief against a defendant who is immune from
damages.”); See also Zessin v. Nebraska Health & Human Services, No. 807CV247, 2007 U.S. Dist.
LEXIS 61858, 2007 WL 2406967 (D. Neb. Aug. 20, 2007)(“[I]t is clear that 28 U.S.C.
§ 1915(e)(2)(B) authorizes dismissal of complaints filed in forma pauperis without regard to whether
the plaintiff is a prisoner.”).

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stated all of his claims and which limited itself to a “short and plain statement” as required by Rule

8(a)(2) of the Federal Rules of Civil Procedure. Plaintiff’s Amended Complaint (Doc. No. 18) is

a sixty-six page document which asserts twenty-two claims against fifteen defendants. (Id. at 65-66.)

Given the clear requirement that allegations against multiple parties must arise from the same

transaction or occurrence, I will consider only Plaintiff’s ADA related claims.2 See Fed. R. Civ. P.

20(a)(2). For the reasons stated below, each of the claims should be dismissed. Plaintiff should

bring his unrelated claims in separate lawsuits.

III.   ANALYSIS

       A.      ADA Claims Stemming from Plaintiff’s Criminal Charges

       Plaintiff alleges Defendant Bradford initiated criminal charges against him in November

2011 in order to “coerce Plaintiff into ceasing and desisting his litigation practices.”3 (Doc. No. 18

at 8.) He contends that in September 2012, Bradford offered him a plea bargain which, among other

things, stipulated Plaintiff would dismiss any pending pro se lawsuits and agree not to file any more

while on probation. (Id. at 10.) Plaintiff argues these plea conditions render Defendant Bradford

liable under Title V4 and Title II of the ADA. I disagree. Plaintiff admits these plea stipulations

were voluntarily withdrawn by Defendant Bradford without being accepted. (Id. at 11.) There is no

indication that these stipulations affected further plea discussions. Plaintiff contends he suffered a

“prolonged jeopardy of his liberty” merely by being offered these short-lived terms, but this amounts


       2
        Even these claims do not arise from the same transaction or occurrence. Instead they involve
various state proceedings and defendants. Given that Plaintiff has already paid a portion of the filing
fee, however, I will evaluate each of the ADA claims.
       3
        In his Amended Complaint, Plaintiff states these charges were formally brought because of
alleged domestic battery. (Doc. No. 18 at 8.)
       4
       Plaintiff refers to these claims as proceeding under “Section 503,” a reference to Title V,
§ 503. (Doc. No. 18 at 1.)

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to nothing more than the threat of an injury which ultimately did not come to pass. See Lujan v.

Defenders of Wildlife, 504 U.S. 555, 560-561 (1992) (holding that standing under Article III requires

a claimant to have suffered an injury that is “actual or imminent” rather than “conjectural or

hypothetical”) (internal quotations omitted).

        Plaintiff’s claims that the criminal charges were initially brought as part of a conspiracy to

dissuade him from filing additional suits should also be dismissed. While he is not required to

present direct evidence of a conspiracy at this early stage, he must still plead sufficient factual

allegations which establish that the relevant defendants possessed a mutual understanding concerning

the alleged misconduct. See White v. Walsh, 649 F.2d 560, 561 (8th Cir. 1981). Moreover, the

United States Supreme Court’s decision in Bell Atlantic Corp. v. Twombly generally requires all

claimants to plead “enough facts to state a claim to relief that is plausible on its face.” 550 U.S. 544,

570 ( 2007). Plaintiff has not met these standards. Instead, he vaguely alleges that Defendant

Bradford “badgered” him during the proceedings, but given the adversarial nature of our justice

system, this alone lends scant plausibility to his conspiracy claim. Plaintiff also fails to specify

which parties or entities Defendant Bradford allegedly conspired with in bringing these criminal

charges.

        In light of the foregoing, I find that Plaintiff’s vicarious liability claims against the State of

Arkansas based on these same allegations should also be dismissed.

        B.      ADA Retaliation by Defendants James Goldie and David Stebbins

        Plaintiff states he initiated a civil action against Defendant David D. Stebbins some time after

being released from pre-trial confinement. (Doc. No. 18 at 11.) Defendant Goldie represented

Defendant Stebbins in that case and at some point in the fall of 2013, allegedly motioned to restrict

Plaintiff’s filing rights. (Id.) Plaintiff claims the motion was premised on his lengthy litigative


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history, much of which involved ADA claims. (Id.) Now, he is suing both Defendant Stebbins and

Goldie for retaliation under Title V of the ADA, specifically 42 U.S.C. § 12203(a).

        First, it does not appear Plaintiff suffered any actual injury based on Defendant Stebbins’

motion. He has not indicated whether the motion was granted and, if so, which restrictions directly

resulted from it. Absent actual injury, Plaintiff lacks Article III standing to pursue this claim.

Second, other courts have held that this retaliation provision does not provide for individual liability.

See Spiegel v. Schulmann, 604 F.3d 72, 79-80 (2nd Cir. 2010); see also Baird v. Rose, 192 F.3d 462,

472 (4th Cir. 1999) (“[T]he ADA does not permit an action against individual defendants for

retaliation for conduct protected by the ADA.”). Although the Eighth Circuit has not itself ruled on

this issue, I believe this conclusion is consistent with the law that does exist in this circuit. See

Alsbrook v. City of Maumelle, 184 F.3d 999, 1005 n.8 (8th Cir. 1999) (concluding that Title II of the

ADA does not provide for individual liability); see also Ebersole v. Novo Nordisk, Inc., 2011 U.S.

Dist. LEXIS 141031, 2011 WL 6115655, at *1-2 (E.D. Mo. Dec. 8, 2011) (declining to find

individual liability under Title I of the ADA and reasoning that such a conclusion is consistent with

the Eighth Circuit’s Title VII holdings).

        C.      ADA Claims against Judge Russell Rogers and Judge Brad Karren

        Plaintiff alleges that Judge Rogers was appointed as a special judge to one of his state court

actions on October 7, 2014. (Doc. No. 18 at 11.) His claims against Judge Rogers amount to little

more than complaints about the judicial decisions and holdings in that case. (Id. at 11- 16.) With

respect to Judge Karren, Plaintiff similarly disagrees with the dismissal of his state court complaint

and the decision to sanction him on August 4, 2015. (Id. at 26-27.) Plaintiff now contends that these

decisions violated his rights under the ADA insofar as they were motivated by his history of ADA

litigation. (Id. at 16, 26.)


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        As noted above, I recommend that Plaintiff not be allowed to proceed with any individual

capacity claims which arise under the ADA’s Title V retaliation provision. Individual claims under

Title II should also be dismissed. Alsbrook,184 F.3d 999 at 1005 n.8. Additionally, I conclude that

both Defendants are protected by judicial immunity. Plaintiff has undertaken no small effort to

persuade the Court that the United State Supreme Court’s decision in Tennessee v. Lane abrogates

judicial immunity with respect to ADA claims. 541 U.S. 509 (2004). It does not. The question of

judicial immunity was never raised in Tennessee v. Lane. Petitioners sued the State of Tennessee

and several of its counties for failing to provide wheelchair access to court facilities. Id. at 513-514.

At issue was the question of whether the abrogation of sovereign immunity contained in Title II of

the ADA exceeded the authority of Congress under section 5 of the Fourteenth Amendment. Id. at

513. Plaintiff claims that judicial immunity was implicitly abrogated by this decision because one

of injuries suffered by a petitioner was being held in contempt of court. (Doc. No. 18 at 4.) This

argument is flawed. The ADA evinces no intent to abrogate judicial immunity and the Supreme

Court never raised or ruled on that issue. Plaintiff’s argument that Tennessee v. Lane abrogates all

immunity for violations of the ADA is insupportable.

        I find that Judge Rogers and Judge Karren are protected from suit by judicial immunity.

Their decisions in Plaintiff’s state court suits were clearly judicial5 in nature and made within the

scope of their jurisdiction. Mireles v. Waco, 502 U.S. 9, 11 (1991) (holding that judicial immunity

is only overcome where the relevant actions were non-judicial or taken in the absence of all



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        Plaintiff argues that Judge Karren’s decision to sanction him was “administrative” rather
than judicial. (Doc. No. 18 at 45.) This is a component of Plaintiff’s section 1983 claim against
Judge Karren, which I have declined to consider herein. I find that Judge Karren’s decision to
sanction Plaintiff was judicial in nature. See In re Tyler, 839 F.2d 1290, 1290-91, 1295 (8th Cir.
1988) (per curiam) (holding that a court has discretion to place filing restrictions on litigants who
abuse the judicial process).

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jurisdiction).

        I also conclude that dismissal is appropriate for Plaintiff’s claims against Defendants State

of Arkansas, Arkansas Administrative Office of the Courts (“AAOC”), Jimm Hannah, and Donna

Gay6 which stem from these allegations. He appears to allege that the State of Arkansas and the

AAOC should be held vicariously liable for the judicial decisions of Judge Rogers and Judge Karren.

Plaintiff does not, however, allege the State of Arkansas or AAOC committed any wrongdoing other

than employing these judges. As such, these claims should not proceed. To hold otherwise would

allow claimants to skirt judicial immunity simply by bringing their suit against a judge’s employer.

Mireles, 502 U.S. 9 at 11 (“Like other forms of official immunity, judicial immunity is an immunity

from suit, not just from ultimate assessment of damages.”). Put bluntly, it appears Plaintiff is

attempting to contest judicial decisions he disagrees with by framing them as ADA violations.7 To

the extent Plaintiff believes that the decisions of Judge Rogers or Judge Karren were wrong or lacked

an adequate legal foundation, his remedy lies in the state appeals process.

        With respect to Defendants Hannah and Gay, Plaintiff alleges that both should be liable under

the ADA for assigning Judges Rogers and Karren to his cases and failing to ensure either was

“qualified.” (Doc. No. 18 at 11-12, 26.) This claim is frivolous. There is no legal basis for holding


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         Although no recusal request has been filed, I raise the issue sua sponte of whether I should
recuse from hearing a case involving Defendant Donna Gay. Under 28 U.S.C. § 455(a), “[a]ny
Justice, judge or magistrate of the United States shall disqualify himself in any proceeding in which
his impartiality might reasonably be questioned.” The inquiry under § 455(a) is “one of objective
reasonableness.” Lunde v. Helms, 29 F.3d 367, 370 (8th Cir. 1994). The test for disqualification is
whether a reasonable person with knowledge of the facts and circumstances might question a judge’s
impartiality. Id. Applying this test, it is clear that a reasonable person with knowledge of the facts
and circumstances would not question my impartiality. Based on this, I do not see a need to recuse
myself from this case.
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       In his requested remedies, Plaintiff asks to be fully compensated for the monetary damages
which he purportedly would have recovered absent the decisions of Judge Rogers and Judge Karren.
(Doc. No. 18 at 57-58.)

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either Defendant liable under the ADA for the independent decisions of Judges Rogers and Karren.

       D.      Plaintiff’s Remaining Claims

       As noted above, I recommend that Plaintiff’s remaining claims be dismissed for failing to

arise out of the same transaction or occurrence. These claims are: (1) a malicious prosecution claim

against Judge Rogers; (2) a defamation claim against Judge Rogers; (3) a section 1983 claim based

on alleged ex parte communications between Defendants Stebbins, Goldie, and Williams; (4) a

section 1983 claim against Judge Karren based on denial of access to the courts; (5) through (12)

eight claims against various defendants for allegedly perjuring themselves during state court

proceedings; (13) a claim against Defendant Williams for allegedly tampering with evidence during

a state court proceeding; (14) a section 1983 claim against Judge Gordon Webb for censorship; and

(15) a section 1983 claim against Judge Rogers, the City of Harrison, and Officers Turley,

Applegate, and Waldon based on a “near-arrest”for exercising rights under the Fourth and Fifth

Amendments. (Doc. No. 18 at 65-66.) None of these claims are sufficiently related to proceed in

a single action, and Plaintiff should not be allowed to defeat filing fee requirements by joining

multiple causes of action in one suit. I recommend they be dismissed without prejudice so that

Plaintiff may pursue them in separate suits and in the appropriate venues.

                                         CONCLUSION

       IT IS, THEREFORE, RECOMMENDED that:

       1.      Plaintiff’s Amended Complaint (Doc. No. 18) be DISMISSED without prejudice.

       2.      Plaintiff's ADA claims be DISMISSED without prejudice for failure to state any

claim upon which relief may be granted.

       3.      All other claims be DISMISSED without prejudice for failing to arise out of a single

transaction or occurrence.


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IT IS SO RECOMMENDED this 23rd day of September, 2015.


                               ____________________________________
                               JOE J. VOLPE
                               UNITED STATES MAGISTRATE JUDGE




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